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 3                                  IN THE UNITED STATES DISTRICT COURT
 4                        IN AND FOR THE NORTHERN DISTRICT OF CALIFORNIA
 5                                                       ***
 6   N. L., a minor By and Through his Guardian Ad           CASE NO. 4:17-cv-06242-HSG
     Litem QUATISHA LUCKETT,
 7
                      Plaintiffs,
 8                                                            ORDER ON STIPULATION FOR ORDER
             vs.                                              TO ALAMEDA COUNTY CORONER’S
 9                                                            BUREAU FOR RELEASE OF REPORT
     THE STATE OF CALIFORNIA, a government                    AND PHOTOGRAPHS
10   entity; STATE OF CALIFORNIA
     DEPARTMENT OF TRANSPORTATION aka
11   CALTRANS, a government entity; THE CITY
     OF OAKLAND, a government entity;
12   NATIONAL RAILROAD PASSENGER
     CORPORATION aka AMTRAK, a corporation;
13   DOE TRAIN OPERATOR, an individual;
     UNION PACIFIC RAILROAD COMPANY, a
14   corporation; CHRISTINA ARAB, an individual;
     REBECCA ARAB, an individual; and DOES 2
15   through 100, Inclusive;
16                    Defendants.
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             THE COURT, having considered the Stipulation of the parties, ORDERS the Alameda County
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     Coroner’s Bureau to release/produce any and all reports, photographs and video records created, taken
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     and/or secured in connection with its investigation of the death of Samuel Joseph Arab, IV on June 26,
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     2016, Report No. 2016-01893, which incident is the subject of the above captioned action.
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     ///
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             Said disclosure shall be subject to the following terms and requirements:
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             1.     Confidential material including photographs of a deceased person shall be used solely in
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     connection with this litigation and the preparation and trial of this case, or any related appellate
26
     proceeding, and not for any other purpose including any internet or media disclosure.
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             2.     Confidential material may be disclosed only to the following persons:
28                                              1
           ORDER ON STIPULATION FOR ORDER TO RELEASE CORONER’S REPORT AND PHOTOGRAPHS
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 1                 (a)     Counsel for any party to this action;

 2                 (b)     Paralegal and secretarial personnel employed by counsel for any party;

 3                 (c)     Court reporters and court reporting staff engaged to transcribe depositions

 4                 regarding this action;

 5                 (d)     Experts or consultants retained in connection with this action who agree to abide

 6                 by this protective order.

 7          This order is intended to be the equivalent of an order a California state court would issue under

 8   California Code of Civil Procedure § 129.

 9                 IT IS SO ORDERED.

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     DATED:     4/10/2018
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                                                       _ _________                               _
12                                                        HAYWOOD S. GILLIAM, JR.
                                                          United States District Judge
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          ORDER ON STIPULATION FOR ORDER TO RELEASE CORONER’S REPORT AND PHOTOGRAPHS
